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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          >

                                                  >         DOCKET NUMBER

VS.                                               >         21-MJ-135

                                                  >

JUSTIN MCAULIFFE,                                 >



                            JOINT MOTION OF CONTINUANCE


       Defendant, Justin McAuliffe, by and through its undersigned, states the following in

support of this Motion:

       1.      This matter is scheduled for Preliminary Hearing on September 7, 2021 at 3:30 PM.

       2.      The Defendant was recently injured in a vehicular accident on August 13, 2021,

which resulted in his hospitalization. He broke his clavicle and elbow, and underwent surgery on

both on August 17. He is now discharged from the hospital but continues to be in pain and is home

recovering. Please find pages 1 through 8 of his 52 page Summary of Care (annexed hereto as

Exhibit A).

       3.      Defense Counsel and the Government were in near-final plea negotiations prior to

the Defendant’s accident.

       4.      The Defendant is released on bond and has been fully compliant with all conditions.

       5.      The Defendant and the Government jointly move for a continuance of this matter

until Mr. McAuliffe recovers from his injuries.
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       6.     The parties ask this the matter be set down for a plea hearing, to be scheduled on a

day the week of October 18th convenient to the Court.

       7.     The Defendant waives speedy trial rights for the requested continuance period.

       WHEREFORE, it is respectfully requested that this Honorable Court enter the proposed

Consented to Order.




                                                    Respectfully submitted,



                                                    COLLINS GANN McCLOSKEY &
                                                    BARRY

                                                    By: /s/ Rick Collins
                                                    Richard D. Collins, Esq.
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                                                    Mineola, NY 11501
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                                 CERTIFICATE OF SERVICE

       I, Richard D. Collins, do hereby certify that the foregoing Motion of Continuance and
Order were filed on the below date with the Court’s electronic filing system and thereby served
upon all counsel of record.

Date: August 27, 2021                               /s/ Richard D. Collins
                                                    Richard D. Collins
